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COURT OF COMMON PLEAS

IN THE COURT OF COMMON PLEAS OF ROSS COUNTY, O
| UN MAY 18 PH i W]

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GEORGE CLAY moss County COMMON PLEAS
2257 TREGO CREEK RD er” CLERK OF GOURTS
CHILLICOTHE, OH 45601 VY 0. HINTON

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and

ALICIA CLAY
2257 TREGO CREEK RD
CHILLICOTHE, OH 45601

and

GEORGE AND ALICIA CLAY,

AS PARENTS AND GUARDIANS OF
McKAYLA CLAY, A MINOR

2257 TREGO CREEK RD
CHILLICOTHE, OH 45601

Plaintiffs,
v. : Case No. /OG 3/8

FISHER PRICE : JUDGE (Corting
DIVISION OF MATTELL

c/o CT Corp, Statutory Agent : JURY DEMAND ENDORSED HEREON
818 West Seventh Street

Los Angeles, CA 90017

and

WALMART STORE # 1478
354 Private Drive 288
South Point, OH 45680

and

WALMART STORES, INC.
c/o CT Corp, Statutory Agent
1300 East Ninth Street
Cleveland, OH 44114

Defendants. :

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COMPLAINT
Nowcome Plaintiffs, by and through counsel, and for their Complaint allege and aver
as follows:
FACTS

1. On or about April 21, 2006, and at all times thereafter, George and Alicia Clay
were parents and natural guardians (hereinafter “Parents”) of McKayla Clay , whose date.
of birthjis:‘Aligust-15; 2002.

2. On or about April 21; 2006; Parents purchased from Walmart Store. #1478a
Dora Explorer ATV. ,

3. Said ATV was designed and manufactured by Fisher Price and marketed as
a Power Wheels vehicle.

4. Said vehicle was designed by, or at the request and with the input of, Walmart
to specifically be sold by Walmart stores.

5. On or about September 6, 2007, McKayla, then age 5, was riding the ATV in
her front yard when the battery ran out of charge.

6. Parent Alicia, who was also in the front yard, told McKayla to park the ATV
in the garage.

7. While Parent Alicia was coming to the garage to remove the battery for
charging, McKayla was able to unlatch the seat and the battery, and pick it up from its.
compartment.

8. Once McKayla removed the battery from the storage compartment under the
seat, she lost her balance and fell, dropping the battery.on.her hand causing one finger.to

-be.severed,

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9. McKayla suffered severe physical and emotional injuries resulting in the
expenditure of medical expenses, severe and permanent injuries, disfigurement, and loss
of function and sensitivity to both weather and weather changes, all of which are
permanent.

10. Parent George had to take time off from work in order to treat and care for
McKayla during her recovery, resulting in loss of income, and he has incurred medical
expenses on behalf of McKayla.

CLAIMS

COUNTI

11.‘ Plaintiffs hereby incorporate paragraphs 1 through 10 as if fully rewritten
herein.

12. Defendants Fisher Price and Walmart negligently designed the battery, its
compartment latching system, and the ATV vehicle so that it was not properly equipped
with safety devices to keep young children from injuring themselves, even if the ATV was
used as designed, anticipated, or should have been anticipated by young children.

COUNT IT

13. ‘Plaintiffs hereby incorporate paragraphs 1 through 12 as if fully rewritten
herein.

14. Defendants Fisher Price and Walmart defectively designed the ATV such that
even when used as instructed, or as reasonably should be anticipated by Defendants, it will
cause serious physical injury to young children, pursuant to ORC 2307.75.

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15. Plaintiffs hereby incorporate paragraphs 1 through 14 as if fully rewritten

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herein. .

16. Defendants Fisher Price and Walmart failed to warn of the danger associated
with the product, pursuant to ORC 2307.76.

COUNT Iv

17. Plaintiffs hereby incorporate paragraphs 1 through 16 as if fully rewritten
herein.

18. The product failed to conform with both express and implied warranties of
fitness for use by very young children as advertised by Defendants, pursuant to ORC
2307.77.

COUNT V

19. _ Plaintiffs hereby incorporate paragraphs 1 through 18 as if fully rewritten
herein.

20. Walmart is liable as a supplier, under ORC 2307.78, in that it participated in
the design of the product and for other reasons. .

COUNT VI

21. Plaintiffs hereby incorporate paragraphs 1 through 20 as if fully rewritten
herein.

22, Theproductwas defective in manufacturing or construction, pursuanttoORC
2307.74.

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23. Plaintiffs hereby incorporate paragraphs 1 through 23 as if fully rewritten

herein.

24. Defendants Fisher Price and Walmart intentionally and with flagrant

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disregard of public safety, in violation of ORC 2307.80, put in stream of commerce a design
they knew would cause, or reasonably should have anticipated would cause, serious physical
injury to young children, specifically like Plaintiff McKayla.

COUNT VII

25. Plaintiffs hereby incorporate paragraphs 1 threugh 24 as if fully rewritten
herein.

26. Parent Alicia suffered severe emotional trauma and distress in that she was
nearby McKayla when the injury occurred, saw the severed finger and had to administer
emergency triage and medical care to McKayla until she could be transported to the
hospital. .

COUNT IX

27. Plaintiffs hereby incorporate paragraphs 1 through 26 as if fully rewritten
herein.

28. Plaintiffs George and Alicia Clay are the natural parents and legal guardians
of McKayla Clay and, as such, is responsible for the medical bills of their daughter.

‘Plaintiffs George and Alicia Clay have incurred over $16,000 in medical bilis‘on behalf of
their daughter and have lost the society and affection of their daughter as a direct and
proximate result of the negligence of Defendants.

WHEREFORE, Plaintiffs pray for judgment against all Defendants on their claims

hereinin an amount in excess of $25,000 for injuries and other damages, including medical

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expenses, wage loss, costs, and such other relief as may be appropriate.

MORRIS, STARKEY & WAID, L.L.C.

Lk xlabch,

DAVID H.STARKEY 0017406
Attomey for Plaintiffs

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Dublin OH 43017-3380
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dstarkey@mswlawoffices.com

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JURY DEMAND

Now comes Plaintiff and demands that the issues herein be tried to a jury of eight
(8). :

MORRIS, STARKEY & WAID, L.L.C.
DAVID H.STARKEY 0017406
Attorney for Plaintiffs .

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